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Form oresadoc − oresadocv27

                                        UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                              Case No.: 19−23492−SLM
                                              Chapter: 13
                                              Judge: Stacey L. Meisel

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   James A. Gilmartin
   131 Rock Road
   Glen Rock, NJ 07452
Social Security No.:
   xxx−xx−9756
Employer's Tax I.D. No.:


                                            ORDER RESPECTING
                                     AMENDMENT TO SCHEDULE D, E/F, G OR H
                                           OR LIST OF CREDITORS

     The Court having noted that the debtor filed an Amendment to Schedule D and E/F on 01/03/2020 or to the List
of Creditors on n/a , and for good cause shown, it is

          ORDERED that the debtor must provide notice of the Amendment to the creditor(s) or party(ies) being
deleted, added or modified and to the trustee in the case, if any, not later than 7 days after the date of this Order.
          It is further ORDERED that the debtor(s) must serve on added creditors or parties, not later than 7 days
after the date of this Order, the following:

          1.        A copy of the applicable Notice of Chapter 13 Bankruptcy Case, and

          2.        In a Chapter 11 case:

               a)      a copy of the last modified plan and disclosure statement, if any, and

               b)   a copy of any order approving the adequacy of the disclosure statement
               and/or the scheduling of the plan for confirmation.

          3.        In a Chapter 12 or Chapter 13 case:

               a)      a copy of the Notice of Hearing on Confirmation of Plan, if any, and

               b)      a copy of the last modified plan that has been filed in the case.

         It is further ORDERED that not later than 7 days after the date of this Order, the debtor(s) must file the
Local Form, Certification of Service, certifying compliance with the above requirements.

          It is further ORDERED that the added creditors or parties have

          1. until the original deadline, if any, fixed by the court to file a complaint to object to
          the debtor's discharge or dischargeability of certain debts, or sixty 60 days from the date of this Order,
          whichever is later;

          2.    until the original deadline, if any, fixed by the Court to file a proof of claim or required supplement,
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        or sixty 60 days from the date of this Order, whichever is later;

        3.    until the original deadline fixed by the Court to object to exemptions, or thirty 30 days from
        the date of this Order, whichever is later.




Dated: January 6, 2020
JAN: sjp

                                                  Stacey L. Meisel
                                                  United States Bankruptcy Judge
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                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 19-23492-SLM
James A. Gilmartin                                                                                         Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-2                  User: admin                        Page 1 of 1                          Date Rcvd: Jan 06, 2020
                                      Form ID: oresadoc                  Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 08, 2020.
db             +James A. Gilmartin,   131 Rock Road,   Glen Rock, NJ 07452-2051

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Jan 06 2020 23:24:04     United States Trustee,
                 Office of the United States Trustee,   1085 Raymond Blvd.,   One Newark Center,   Suite 2100,
                 Newark, NJ 07102-5235
                                                                                            TOTAL: 1

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 08, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 6, 2020 at the address(es) listed below:
              Andrew M. Lubin    on behalf of Creditor   Wilmington Trust, NA, successor trustee to Citibank,
               N.A., as Trustee f/b/o holders of Structured Asset Mortgage Investments II Inc., Bear Stearns
               ALT-A Trust 2007-2, Mortgage Pass-Through Certificate bkecf@milsteadlaw.com,
               alubin@milsteadlaw.com
              Andrew M. Lubin    on behalf of Creditor   Select Portfolio Servicing, Inc. as servicing agent for
               Wilmington Trust, NA bkecf@milsteadlaw.com, alubin@milsteadlaw.com
              John P. Fazzio    on behalf of Debtor James A. Gilmartin jfazzio@fazziolaw.com,
              Marie-Ann Greenberg     magecf@magtrustee.com
              U.S. Trustee    USTPRegion03.NE.ECF@usdoj.gov
                                                                                              TOTAL: 5
